           Case MDL No. 3100 Document 294 Filed 01/26/24 Page 1 of 11




                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION



IN RE: REAL ESTATE COMMISSION
                                                           MDL No. 3100
ANTITRUST LITIGATION



        DEFENDANT REDFIN CORPORATION’S RESPONSE TO MOTION
      FOR TRANSFER AND CENTRALIZATION PURSUANT TO 28 U.S.C. § 1407

       Defendant Redfin Corporation (“Redfin”) agrees that consolidation is appropriate.

Plaintiffs’ motion, however, does not go far enough. To achieve maximum efficiency, all related

cases, including those not raised in Plaintiffs’ Motion, should be centralized for pretrial

proceedings and transferred to the Northern District of Illinois.

       Plaintiffs’ Motion seeks centralization of nine cases brought by home sellers challenging

buyer-broker commissions, including three nationwide classes alleging violations of Section 1 of

the Sherman Act. But Plaintiffs’ motion is underinclusive. There are several additional cases

involving overlapping claims and questions of fact for which centralization is not presently being

sought. Critically, Plaintiffs’ Motion does not seek centralization of two cases brought on behalf

of nationwide classes of home buyers alleging violations of Section 1 of the Sherman Act as well

as various state-law claims. Permitting a subset of similar cases to proceed in parallel undermines

the efficiencies and benefits of an MDL. Absent complete centralization, Redfin, for example,

would still be subject to duplicative discovery, and the risk of inconsistent pretrial rulings would

remain. Centralization is the only feasible way to ensure that these cases proceed efficiently.

       Complete centralization highlights that the Northern District of Illinois is the most

appropriate transferee district. The Northern District of Illinois is the only court with experience

presiding over both the home seller and home buyer cases. Judge Andrea Wood, for example,
             Case MDL No. 3100 Document 294 Filed 01/26/24 Page 2 of 11




currently presides over both the first-filed home seller case (Moehrl) and home buyer case

(Batton I). The Northern District of Illinois is also a more convenient location for the parties and

for discovery.

        Accordingly, all related cases should be centralized and transferred to the Northern District

of Illinois for pretrial proceedings.

                                                 BACKGROUND

        On December 27, 2023, the Gibson and Umpa Plaintiffs1 jointly moved under 28 U.S.C.

§ 1407 to consolidate nine related actions (collectively, “home seller cases”). Those actions “all

allege antitrust violations relating to rules adopted by the NAR and Multiple Listing Services

(MLSs) that govern the conduct of residential real estate brokers and agents nationwide.” ECF

No. 1-1 at 1. The plaintiffs in each related action “allege that these rules (collectively referred to

as ‘Buyer Broker Compensation Rules’) require home sellers to make blanket unilateral offers of

compensation to cooperating brokers when listing a residential property for sale on an MLS and

restrict the negotiation of such offers.” Id.

        Plaintiffs’ Motion, however, only seeks consolidation of a subset of cases brought by home

sellers and omits any mention of the home buyer cases. Specifically, the Motion omits two lawsuits

pending in the Northern District of Illinois that were brought by home buyers: Batton et al. v. Nat’l

Ass’n of Realtors et al., No. 1:21-cv-430-ARW (N.D. Ill.) (“Batton I”) and Batton et al. v.

Compass et al., No. 1:23-cv-15618-EEC (N.D. Ill.) (“Batton II”) (collectively, the “Batton” or

“home buyer” cases).2 The Batton plaintiffs are “home buyers who purchased their homes on


1
    Plaintiffs in Gibson v. Nat’l Ass’n of Realtors, Case No. 4:23-cv-788-SRB (W.D. Mo.) and Umpa v. Nat’l Ass’n
    of Realtors, Case No. 4:23-cv-945 (W.D. Mo.).

2
    After Plaintiffs filed their motion, another home buyer case was filed in the Northern District of Illinois. Tuccori v.
    At World Props., Inc., No. 24-cv-150. The matter is currently pending before Judge Lindsay C. Jenkins. Redfin
    is not a defendant in Tuccori.


                                                            2
                  Case MDL No. 3100 Document 294 Filed 01/26/24 Page 3 of 11




     MLSs affiliated with and governed by NAR.” Batton I Compl. ¶ 4; Batton II Compl. ¶ 4. Those

     plaintiffs challenge nearly the same rules and practices as the plaintiffs in the home seller cases.

     Compare, e.g., Batton II Compl. ¶¶ 8-12, with Gibson Compl. ¶¶ 3, 7-12 and Umpa Compl. ¶¶ 3,

     6. The complaints also share many of the same core allegations, including defendants’ participation

     in a conspiracy. Compare, e.g., Batton II Compl. ¶¶ 66-85, 110-16, with Umpa Compl. ¶¶ 67-100,

     111-39. Therefore, centralization is warranted not only because of the significant overlap between

     claims, as explained below, but also to reduce duplicative discovery, conserve the parties’ and

     courts’ resources, and eliminate the risk of inconsistent rulings across the country.

                                                       DISCUSSION

I.           The Panel Should Centralize All Related Cases.

             Under 28 U.S.C. § 1407(a), the Panel can transfer actions “involving one or more common

     questions of fact that are pending in different districts . . . for coordinated or consolidated pretrial

     proceedings.” Such consolidation is appropriate when the Panel determines that the transfer “will

     be for the convenience of parties and witnesses and will promote the just and efficient conduct of

     such actions.” Id. Redfin agrees with Plaintiffs that these factors are satisfied here, making

     centralization of all cases brought by home sellers appropriate.3 In addition, centralization should

     include Batton I and Batton II.




     3
         While Redfin agrees that the cases in Plaintiffs’ Motion should be centralized, it also contends that centralization
         should include all cases brought by home sellers. This includes all related cases brought by home sellers before
         and subsequent to Plaintiffs’ Motion. For example, Fierro et al. v. Nat’l Ass’n of Realtors et al., No. 2:24-cv-
         00449 (C.D. Cal. Jan. 17, 2024); Whaley v. Nat’l Ass’n of Realtors et al., No. 2:24-cv-00105 (D. Nev. Jan. 15,
         2024); Nosalek et al. v. MLS Prop. Info. Network, Inc. et al., No. 1:20-cv-12244-PBS (D. Mass. Mar. 1, 2022);
         Masiello v. Arizona Ass’n of Realtors, No. 2:24-cv-00045-JZB (D. Ariz. Jan. 5, 2024); Moehrl et al. v. Nat’l
         Ass’n of Realtors et al., No. 1:19-cv-01610 and No. 1:19-cv-2544 (N.D. Ill. June 14, 2019); Friedman v. The Real
         Estate Board of N.Y. et al., No. 1:24-cv-00405 (S.D.N.Y. Jan. 18, 2024); and Willsim Latham, LLC v. MetroList
         Servs., Inc. et al., No. 2:24-cv-00224 (E.D. Cal. Jan. 18, 2024). While Redfin is not a defendant in these cases, it
         supports consolidation for the reasons articulated in Plaintiffs’ Motion.


                                                               3
            Case MDL No. 3100 Document 294 Filed 01/26/24 Page 4 of 11




       A.      The Home-Buyer Cases Involve Common Questions of Fact, Claims, and
               Defendants.

       The Home-Buyer cases should be consolidated with the home seller cases because they

involve common questions of fact, claims, and defendants.

       The Batton cases share common questions of fact with the home seller cases. For example,

both the home seller and Batton cases involve the question of “whether defendants entered into an

agreement or conspiracy based on the Buyer Broker Commission Rules.” ECF No. 1-1 at 7;

Batton I Compl. ¶ 141; Batton II Compl. ¶ 144. Additionally, the home seller and Batton cases

involve questions of fact regarding “whether defendants engage in or promote steering.” ECF

No. 1-1 at 8; Batton I, Compl. ¶¶ 71, 76; Batton II Compl. ¶¶ 74, 76, 79, and “whether the effect

of the agreement was to inflate total commissions and buyer broker commissions.” ECF No. 1-1

at 8; Batton I, Compl. ¶ 141; Batton II Compl. ¶ 144.

       The Batton cases and home seller cases all allege a Section 1 conspiracy among brokerages

and real state associations to inflate buyer broker commissions. Compare Batton I Compl. ¶¶ 12,

14 (stating “Defendants’ conspiracy enables brokers to raise, fix, and maintain buyer-agent

compensation at artificially high levels” and “Defendants’ agreements individually and

collectively unreasonably restrain trade in violation of Section 1 of the Sherman Act”) and

Batton II Compl. ¶¶ 12, 14 (same), with Gibson Compl. ¶¶ 166-174 (“Defendants engaged in a

continuing contract, combination, or conspiracy to unreasonably restrain interstate trade and

commerce in violation of Section 1 of the Sherman Act . . . the conspiracy . . . consists of a

continuing agreement among Defendants and Defendants’ co-conspirators to require sellers of

residential property to make inflated payments to the buyer broker.”) and Umpa Compl. ¶ 16

(“Despite their diminishing role, buyer-brokers continue to receive the same artificially elevated

percentage of the sales price due to Defendants’ conspiracy.”); see also ECF No. 1-1 at 6 (“[e]ach


                                                4
             Case MDL No. 3100 Document 294 Filed 01/26/24 Page 5 of 11




action asserts claims under the Sherman Act based on an agreement among brokerages and real

estate associations requiring home sellers to pay buyer broker commissions.”).

         There is also substantial overlap between the defendants in the Batton cases and home

seller cases. For instance, NAR, which is a named defendant in Batton I, is also a named defendant

in approximately 8 home seller actions.4 ECF No. 1-1 at 6. Keller Williams Realty, Inc., another

named defendant in Batton I, is also a named defendant in Nosalek, Moehrl, and Burton.

HomeServices of America, Inc., BHH Affiliates, LLC, the Long & Foster Companies, Inc., and

HSF Affiliates, LLC, named defendants in Batton I, are defendants in Umpa as well. Additionally,

Compass, Redfin, eXp World Holdings, Weichert Realtors, United Real Estate, Howard Hanna

Real Estate, and Douglas Elliman—all of the defendants named in Batton II—are named as

defendants in Gibson and Umpa.5

         Given the overlapping claims, questions of fact, and defendants, the Batton cases should

be centralized with the home seller cases. Cases asserting “substantially identical claims under the

Sherman Act” are properly centralized and transferred pursuant to section 1407. See In re Deere

& Co. Repair Servs. Antitrust Litig., 607 F. Supp. 3d 1350, 1351 (J.P.M.L. 2022); see also In re

Generic Drug Pricing Antitrust Litig., 227 F. Supp. 3d 1402, 1403 (J.P.M.L. 2016) (centralizing

antitrust cases involving common questions of fact where plaintiffs “uniformly” alleged

effectuation of conspiracy “through joint activities undertaken through trade associations”).



4
 In addition to Gibson and Umpa, NAR is a named defendant in Grace v. Nat’l Ass’n of Realtors et al., No. 4:23-cv-
06352 (N.D. Cal. Dec. 8, 2023), March v. The Real Estate Board of N.Y. et al., 1:23-cv-09995 (S.D.N.Y. Nov. 13,
2023), 1925 Hooper LLC v. Nat’l Ass’n of Realtors et al., No. 1:23-cv-05392 (N.D. Ga. Dec. 6, 2023), Burton v. Nat’l
Ass’n of Realtors et al., No. 7:23-cv-05666 (D.S.C. Nov. 6, 2023), Whaley v. Nat’l Ass’n of Realtors et al., No. 2:24-
cv-00105 (D. Nev. Jan. 15, 2024), and Fierro et al. v. Nat’l Ass’n of Realtors et al., No. 2:24-cv-00449 (C.D. Cal.
Jan. 17, 2024).
5
 The Batton II defendants are also named in other various home seller cases. For example, Redfin and eXp World
Holdings are defendants in 1925 Hooper, and eXp World Holdings and Compass are defendants in Grace and Fierro.


                                                          5
            Case MDL No. 3100 Document 294 Filed 01/26/24 Page 6 of 11




       That the Batton cases are brought on behalf of home buyers does not weigh against

consolidation. “Transfer under Section 1407 does not require a complete identity of common

factual issues as a prerequisite to transfer, and the presence of additional facts or differing legal

theories is not significant when the actions arise from a common factual core.” In re Blue Cross

Blue Shield Antitrust Litig., 908 F. Supp. 2d 1373, 1376 (J.P.M.L. 2012); In re Auto Body Shop

Antitrust Litig., 37 F. Supp. 3d 1388, 1390 (J.P.M.L. 2014) (same). Where, as here, the actions

were brought by different groups of plaintiffs but “arise from a common factual core,” specifically

NAR’s rules and their effect on home buyers and sellers, centralization is appropriate. In re Blue

Cross Blue Shield Antitrust Litig., 908 F. Supp. 2d at 1376.

       Nor does the fact that the Batton claims may raise issues pertaining to “indirect purchasers”

weigh against centralization. “The Panel has frequently centralized antitrust cases involving direct

and indirect purchaser claims that arise from common factual allegations, particularly where

multiple related actions are pending.” In re Skelaxin (Metaxalone) Antitrust Litig., 856 F. Supp.

2d 1350, 1351 (J.P.M.L. 2012); see also In re Ranbaxy Generic Drug Application Antitrust Litig.,

355 F. Supp. 3d 1382, 1383 (J.P.M.L. 2019) (“we often centralize the claims of direct and indirect

purchasers in a single MDL, so long as they arise from a common factual core, as the claims in

these actions clearly do.”).

       B.      Centralization Would Be Efficient and Would Reduce the Risk of Inconsistent
               Rulings.

       Centralization is warranted when it “will promote the just and efficient conduct of the

litigation.” In re Digital Advertising Antitrust Litig., 555 F. Supp. 3d 1372, 1375 (J.P.M.L. 2021).

Centralization is appropriate, for example, when the cases will “require common discovery” from

defendants. See id. Because the discovery requests in the related actions here will be substantially

“common,” coordinating discovery schedules would allow parties to reduce duplicative discovery


                                                 6
                    Case MDL No. 3100 Document 294 Filed 01/26/24 Page 7 of 11




      and to preserve their own—as well as judicial—resources. Id. at 1375-76; In re Deere & Co.

      Repair Servs. Antitrust Litig., 607 F. Supp. 3d at 1351.

              Moreover, Redfin agrees with Plaintiffs that centralization would reduce the risk of

      inconsistent rulings across all the actions. ECF No. 1-1 at 9; In re Digital Advertising Antitrust

      Litig., 555 F. Supp. 3d at 1375 (“Centralization will promote the just and efficient conduct of the

      litigation by eliminating duplicative discovery and avoiding the risk of inconsistent rulings on

      pretrial matters, particularly on discovery disputes, Daubert issues, and dispositive motions.”).

      Given the number of cases and parties involved here, the actions are subject to a heightened risk

      of inconsistent rulings.

II.           The Panel Should Transfer the Cases to the Northern District of Illinois.

              Transferring the actions to the Northern District of Illinois will “serve the convenience of

      the parties and witnesses and promotes the just and efficient conduct of the litigation.” In re Deere

      & Co. Repair Servs. Antitrust Litig., 607 F. Supp. 3d at 1351. The highest percentage of cases are

      already pending in the Northern District of Illinois, including both the first-filed home seller and

      home buyer cases. Furthermore, Chicago’s centrality—both in terms of its proximity to key parties

      such as NAR and overall accessibility—makes it the most convenient transferee district for this

      litigation.

              The presence of two first-filed actions in the Northern District of Illinois supports

      transfer to that district. This Panel has previously transferred actions to the district of the “first-

      filed” action. In re Broiler Chicken Grower Antitrust Litig., 509 F. Supp. 3d 1359, 1362 (J.P.M.L.

      2020); In re Wholesale Grocery Prods. Antitrust Litig., 663 F. Supp. 2d 1380, 1381 (J.P.M.L.

      2009). Here, the Northern District of Illinois is home to two first-filed actions: Batton I (home

      buyer) and Moehrl (home seller). Moehrl is also the most procedurally advanced of the home seller

      cases and Judge Wood has already ruled on a motion to dismiss in Batton I. See In re Ranbaxy

                                                        7
           Case MDL No. 3100 Document 294 Filed 01/26/24 Page 8 of 11




Generic Drug Application Antitrust Litig., 355 F. Supp. 3d at 1383 (district where the “first-filed

and most advanced action” was pending served as the “appropriate transferee district”); In re

Midland Nat’l Life Ins. Co. Annuity Sales Pracs. Litig., 484 F. Supp. 2d 1355, 1356 (J.P.M.L.

2007) (transferring to the district with the “more procedurally advanced” action); In re Plastics

Additives Antitrust Litig., 374 F. Supp. 2d 1351, 1352 (J.P.M.L. 2005) (transferring to the district

where the “first filed and most advanced actions are pending”).

       The number of cases already pending in the Northern District of Illinois weighs in

favor of transfer. There are currently four related cases, Moehrl, Batton I, Batton II, and Tuccori

pending in the district—double the number of actions pending in any other single district. In re

Deere & Co. Repair Servs. Antitrust Litig., 607 F. Supp. 3d at 1351 (determining that the Northern

District of Illinois was the appropriate forum because six of the twelve involved actions were

pending in the district); In re Blue Cross Blue Shield Antitrust Litig., 908 F. Supp. 2d at 1376

(selecting the Northern District of Alabama as the transferee district because seven of the nine

related actions were pending there).

       The Northern District of Illinois is also the more convenient transferee court because

of its proximity to several defendants. Several defendants’ headquarters, including those of NAR

(the central figure in the alleged conspiracies), are located in Chicago. See, e.g., In re Dealer Mgmt.

Sys. Antitrust Litig., 291 F. Supp. 3d 1367, 1369 (J.P.M.L. 2018) (selecting “the Northern District

of Illinois as transferee district” because one of the defendants was “headquartered in the district,

and relevant documents and witnesses thus will be found there”); In re Diisocyanates Antitrust

Litig., 341 F. Supp. 3d 1376, 1378 (J.P.M.L. 2018) (basing its determination of the transferee

forum on the location of one defendant’s U.S. headquarters and the proximity of the remaining

defendants’ headquarters). In addition to NAR, Gibson Compl. ¶ 43; Batton I Compl. ¶ 28,



                                                  8
            Case MDL No. 3100 Document 294 Filed 01/26/24 Page 9 of 11




defendant At World Properties, LLC is “incorporated in Illinois with its headquarters in Chicago.”

Umpa Compl. ¶ 39. Close to Chicago is the Minnesota headquarters of defendant HomeServices

of America, Inc., Batton I Compl. ¶ 30; Umpa Compl. ¶ 30, and the Ohio headquarters of

defendant ERA Franchise Systems. 1925 Hooper Compl. ¶ 40. The “essential role NAR has

played” in the litigation, ECF No. 1-1 at 5, and the proximity of other defendants favor a transfer

to the Northern District of Illinois.

        The Northern District of Illinois in Chicago is the most centrally located district,

making it the most convenient for all parties. Another factor that the Panel considers is whether

the proposed transferee district would be convenient for all parties. See In re Digital Advertising

Antitrust Litig., 555 F. Supp. 3d at 1375; In re Deere & Co. Repair Servs. Antitrust Litig., 607

F. Supp. 3d at 1351. Again, the facts weigh in favor of transferring the actions to the Northern

District of Illinois for convenience. Many relevant “witnesses and documents will be found at”

NAR’s headquarters in Chicago, including NAR’s policies. In re Deere & Co. Repair Servs.

Antitrust Litig., 607 F. Supp. 3d at 1351. Additionally, the Northern District of Illinois is accessible

to all parties around the country. In re Dealer Mgmt. Sys. Antitrust Litig., 291 F. Supp. 3d at 1369

(selecting “the Northern District of Illinois as transferee district” because it “is a central, readily

accessible venue for all parties”); In re Butterfield Patent Infringement, 328 F. Supp. 513, 515

(J.P.M.L. 1970) (noting that Chicago is “geographically central”). Two major airports serve the

Chicago metropolitan area—O’Hare International and Midway Airport—with O’Hare serving as

a national hub that has frequent daily flights to multiple cities across the country.




                                                   9
            Case MDL No. 3100 Document 294 Filed 01/26/24 Page 10 of 11




        The Northern District of Illinois and Judge Wood can ably preside over the

centralized action. 6 The Panel considers the ability of the proposed district and the presiding

judge to handle the consolidated cases. See In re Deere & Co. Repair Servs. Antitrust Litig., 607

F. Supp. 3d at 1351. The Northern District of Illinois has experience with multidistrict litigations

and, as of January 2024, is handling sixteen such matters. See MDL Statistics Report – Distribution

of Pending MDL Dockets by District, Jud. Panel on Multidistrict Litig. (Jan. 2, 2024),

https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-January-2-

2024.pdf.

        Centralizing and transferring the actions to Judge Andrea Wood would “ensure streamlined

resolution of this litigation to the overall benefit of the parties and the judiciary” because of her

familiarity with the “factual and legal issues raised by this litigation,” having presided over Moehrl

and Batton I. In re Blue Cross Blue Shield Antitrust Litig., 908 F. Supp. 2d at 1376; In re Auto

Body Shop Antitrust Litig., 37 F. Supp. 3d at 1391. Judge Wood does not appear to have had the

opportunity to oversee a multidistrict litigation yet, and, because she has ruled on class certification

in Moehrl and defendants’ motion to dismiss in Batton I, she is familiar with the facts and law of

both the home sellers’ and home buyers’ cases. Indeed, having presided over both Moehrl and

Batton I means that Judge Wood is the only judge in this litigation who has experience overseeing

an action brought by a home buyer and an action brought by a home seller.

        Plaintiffs contend that the related actions in this litigation should be centralized before

Judge Bough in the Western District of Missouri on account of his experience presiding over the

trial in Burnett v. Nat’l Ass’n of Realtors, No. 19-cv-332 (W.D. Mo.). But that case involved a



6
    If, for any reason, Judge Wood is unavailable, the Panel should transfer the case to another judge in the Northern
    District of Illinois.


                                                         10
            Case MDL No. 3100 Document 294 Filed 01/26/24 Page 11 of 11




discrete Missouri-wide class and the allegations in Moehrl with multiple classes including a

nationwide settlement class more closely mirror that of this litigation, making Judge Wood better

situated to handle this case. In Moehrl, the alleged class included home sellers who listed properties

on twenty-five MLSs across the country, including in Houston, Tampa, Phoenix, Colorado

Springs, Denver, Fort Myers, Baltimore, and Raleigh. Moehrl Compl. ¶ 18. In contrast, Burnett

involved claims related to four MLSs in Missouri. Burnett Third Amended Compl. ¶ 29, Dkt. 759.

                                          CONCLUSION

        For the reasons set forth above, Defendant Redfin respectfully requests that the Panel order

complete centralization of all of the related actions and transfer them to the Northern District of

Illinois.

DATED: January 26, 2024

                                                  PAUL, WEISS, RIFKIND, WHARTON &
                                                  GARRISON LLP


                                                  By: /s/ William A. Isaacson
                                                      WILLIAM A. ISAACSON

                                                  2001 K Street NW
                                                  Washington, D.C. 20006-1047
                                                  Telephone: (202) 223-7313
                                                  Facsimile: (202) 379-4937
                                                  wisaacson@paulweiss.com

                                                  Counsel for Defendant Redfin Corporation




                                                 11
